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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA
CENTRAL DIVISION

 

AMANDA CARROLL
Plaintiff, Case No. 4:07-cv-00251
Vv.
MOTION TO DISMISS WITH
PREJUDICE

PAYTEK SOLUTIONS, L.L.C.
Defendant.

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COMES NOW, the Plaintiff, Amanda Carroll, by and through the
undersigned attorney, and hereby dismisses the above-entitled action with

prejudice.

MARKS LAW FIRM, P.C.

/s/ Samuel Z. Marks

Samuel Z. Marks 1S9998821
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 16" day of April 2008 this document was filed
electronically in the United States District Court for the Southern of lowa and the same was
mailed to the following:

Steven C. Reed
1741 Grand Avenue

7 L
West Des Moines, IA 50265 {\ ne. i _ _

Angela Y. Gruber-Gardner

 
